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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND
                               BALTIMORE DIVISION

JASON ALFORD et al.,

                  Plaintiffs,

       v.                                           Case No. 1:23-cv-00358-JRR

THE NFL PLAYER DISABILITY &
SURVIVOR BENEFIT PLAN et al.,

                  Defendants.


              DEFENDANTS’ JOINT RULE 12(b)(6) MOTION TO DISMISS
               PLAINTIFFS’ AMENDED CLASS ACTION COMPLAINT

       Defendants the NFL Player Disability & Survivor Benefit Plan, the NFL Player

Disability & Neurocognitive Benefit Plan, the Bert Bell/Pete Rozelle NFL Player Retirement

Plan, the Disability Board of the NFL Player Disability & Neurocognitive Benefit Plan, Larry

Ferazani, Jacob Frank, Belinda Lerner, Sam McCullum, Robert Smith, Hoby Brenner, and Roger

Goodell hereby move to dismiss the Amended Class Action Complaint filed by Plaintiffs Jason

Alford, Daniel Loper, Willis McGahee, Michael McKenzie, Jamize Olawale, Alex Parsons, Eric

Smith, Charles Sims, Joey Thomas, and Lance Zeno on behalf of themselves and all others

similarly situated. For the reasons stated in the accompanying Memorandum in Support of

Defendants’ Joint Rule 12(b)(6) Motion to Dismiss Plaintiffs’ Amended Class Action Complaint,

the Amended Class Action Complaint should be dismissed in its entirety and with prejudice

because Plaintiffs fail to state a claim for any violation of the Employee Retirement Income

Security Act (“ERISA”).

       WHEREFORE, Defendants respectfully request dismissal of the Amended Class Action

Complaint.
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Date: June 27, 2023                            Respectfully submitted,

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                                CERTIFICATE OF SERVICE

       I, Gregory F. Jacob, hereby certify that on June 27, 2023, I caused a copy of the

foregoing document to be served upon all counsel of record via the CM/ECF system for the

United States District Court for the District of Maryland.



                                                     /s/ Gregory F. Jacob
                                                     Gregory F. Jacob
